Case 8:20-cv-01830-VMC-TGW Document6 Filed 08/18/20 Page 1 of 2 PagelD 61

VERIFIED RETURN OF SERVICE Job # 299107

Client Info:

RODERICK V. HANNAH, ESQ., PA.
RODERICK V. HANNAH, ESQUIRE
4800 NORTH HIATUS ROAD
SUNRISE, FL 33354

Case Info:
PLAINTIFF: UNITED STATES DISTRICT COURT
WANDA KOEHN Court Division: MIDDLE DISTRICT OF FLORIDA

versus-
DEFENDANT: Court Case # 8:20-CV-01330-T-33TGW

AGAPE DIAMONDS, LLC, A FLORIDA LIMITED LIABILITY COMPANY
Service Info:

Date Received: 8/12/2020 at 11:39 AM

Service: { Served AGAPE DIAMONDS, LLC BY SERVING ITS REGISTERED AGENT: RICARDO AZANK
With: SUMMONS IN A CIVIL ACTION; LETTER; COMPLAINT; EXHIBITS

by jeaving with JOHN GALLAGHER, UPS STORE CLERK , AUTHORIZED TO ACCEPT

At Business 3959 VAN DYKE ROAD, SUITE 216 LUTZ, FL 33558

Latitude: 28.127756
Longitude: -82.502336

On 8/14/2020 at 10:20 AM

Manner of Service: PRIVATE MAIL BOX - EXECUTIVE / VIRTUAL OFFICE

48.0314(6) If the only address for a person to be served which is discoverable through public records is a private mailbox, a virtual
office, or an executive office or mini suite, substitute service may be made by leaving a capy of the process with the person in charge
of the private mailbox, virtual office, or executive office or mini suite, but only if the process server determines that the person to be
served maintains a mailbox, @ virtual office, or an executive office or mini suite at that location. 48.081(b) For purposes of this
subsection, the term “virtual office” means an office that provides communications services, such as telephone or facsimile services,
and address services without providing dedicated office space, and where all communications are routed through a common
receptionist. The term “executive office or mini suite” means an office that provides communications services, such as telephone and
facsimile services, a dedicated office space, and other supportive services, and where all communications are routed through a
common receptionist.

Served Description: (Approx)
Age: 40, Sex: Male, Race: White-Caucasian, Helght: 5° 9", Weight: 165, Hair: Brown Giasses: No

1 JAMES D. WOODS acknowledge that I am authorized to serve process, In good standing in the jurisdiction wherein the process
was served and I have no interest in the above action. Under penaities of perjury, 1 declare that I have read the foregeing document
and that the facts stated in it are true. FS.92,525(2).

JAMES D. WOODS
Lic # CPS#10-555418

COURT EXPRESS SERVICES
P.O, BOX 010581
Miami, FL 33101

Job # 299107

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INDPIALS: JDW ID # CPS#10-355418
DATE: 8/14/2020 TIME: 10:26 AM
MILITARY: NA

Case 8:20-cv-01830-VMC-TGW Document 3 Filed 08/07/20 BYR SEARED
AQ 440 Rey. G6r12) Sumnamias ina Civil Action

UNITED STATES DISTRICT COURT

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Middle Distriet of Florida FH IO

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WANDA KOEHN _ ) WHO Wap di So cay
, ° , Phaindpiis) — j

v, Civil Action No, 8:20-cv-01830-T-33TGW

)
AGAPE DIAMONDS, LLC, )
8 Florida limited Jiability company }
Defendant(s) }

SUMMONS IN A CEVIL ACTION

Toi (Delendant'y name cond address) AGAPE DIAMONDS, LLC
By Serving Its Registered Agent:
RICARDO AZANK
3959 VAN DYKE ROAD
SUITE 216
LUTZ FL 33558

A lawsuit has been filed aveinst you.

Within 21 days aller service of (his summons on you (not counting the day you received it) — or GU days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a})(2) or 13) — vou must serve on the plaintiff an answer to the attached compiaini or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plainuiT of plaintil?’s attorney.
whose name and address are: = RODERICK V. HANNAH, ESQ.

4800 NORTH HIATUS ROAD
SUNRISE FL 33351-7918
Telephone: (954) 362-3800

Ifyou tail te respond, judgment by defaull will be entered against you for the relief demanded in the complaint.
You also must tile your answer or motion with the cour,

CLERK OF 2

Date. _ Aug 0 ne 020

